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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                         Defendants.         )
                                             )
                                       ORDER
        Before the court are the following:
        1.    Linda Kaufman’s motion for reconsideration of order of
              forfeiture and the government’s response (Docs. 510
              and 520);
        2.    Arlan Kaufman’s motion to set aside order of
              substitution   of   forfeited   property   and  the
              government’s response (Docs. 511, 512 and 518);
        3.    Arlan Kaufman’s motion to stay order of forfeiture and the
              government’s response (Docs. 513, 514 and 519); and
        4.    Arlan Kaufman’s notice of appeal (Doc. 515).
                      Defendants’ Motions to Reconsider
        This is a criminal case.      Defendants’ convictions and sentences
are on direct appeal.         Linda Kaufman’s motion for reconsideration
(Doc. 510) and Arlan Kaufman’s motion to set aside (Doc. 511) seek the
same relief: reconsideration and vacation of this court’s order of
forfeiture as to substitute property, filed November 14, 2006 (Doc.
498).    Defendants cite cases, but none from the District of Kansas or
from the Tenth Circuit, for the proposition that district courts have
inherent, discretionary authority to reconsider orders in criminal
cases.       In fact, there are several District of Kansas cases which
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state that motions for reconsideration in criminal cases are treated
essentially the same as motions to alter or amend judgment in civil
cases under Fed. R. Civ. P. 59(e).        See United States v. Anderson, 85
F. Supp. 2d 1084, 1109-10 (D. Kan. 1999) and United States v.
D’Armond, 80 F. Supp. 2d 1157, 1170-71 (D. Kan. 1999).                  Rule 59(e)
motions must be filed no later than ten days after entry of judgment.
Linda Kaufman’s motion was filed on December 27, 2006 and Arlan
Kaufman’s motion was filed on December 28, 2006 (Docs. 510 and 511).
Both are out of time and clearly can be denied on that basis alone
without reaching the question of discretion.             But even if the court
were to overlook the question of timely filing, it still would
exercise its discretion to deny the motions.
     Both defendants assert that the government did not make proper
service of its forfeiture motion but the government has refuted that
claim in its responses.     Moreover, neither defendant has claimed that
he or she did not receive notice of the forfeiture.                Therefore, for
the reasons stated by the government in its responses, the court
rejects defendants’ claims that the government failed to provide
proper notice.
     Turning to defendants’ alternative claims that the forfeiture did
not comply with 21 U.S.C. § 853(p), those arguments are rejected for
the reasons set forth in the government’s responses.
              Defendant Arlan Kaufman’s Motion to Stay
     Both   defendants     have   appealed     from    their     convictions   and
sentences but only Arlan Kaufman has appealed from the order of
forfeiture as to substitute property.            Relying on Fed. R. Crim. P.
32.2(b), Arlan Kaufman seeks a stay of the sale of defendants’ home

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pending appeal and, unbelievably, objects to the government’s offer
to hold the proceeds from the sale in escrow pending appeal.              As the
government has explained in its response, the property in question is
vacant, is the subject of nuisance complaints, is in violation of the
city of Newton’s property maintenance and nuisance codes and, if the
stay is granted, the government will have to incur expenses to
maintain the property during the pendency of the appeal.
     A stay of an order of forfeiture is discretionary and Arlan
Kaufman has put forth no reason why this court should enter a stay.
On the contrary, everything in the record indicates that entry of a
stay would be an abuse of discretion.       Accordingly, the government is
free to sell the property and since Arlan Kaufman has objected to the
government’s offer to place the proceeds of the sale in escrow, the
government will not be required to do so.
                                Conclusion
     Defendants’ motions are denied.
     IT IS SO ORDERED.
     Dated this     12th     day of January 2007, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




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